                                 Case 6:10-bk-01014-KSJ                         Doc 107             Filed 07/02/19             Page 1 of 16




2A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF FLORIDA
                                                                ORLANDO DIVISION


                In Re:                                                                          §
                                                                                                §
                Edgar Alfred Walker, Jr.                                                        §           Case No. 6:10-bk-01014-KSJ
                Yamilee Menos Walker                                                            §
                                                                                                §
                                                              Debtors                           §

                                                   AMENDED TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                 01/25/2010 . The undersigned trustee was appointed on 01/26/2010 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             335,000.00

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                      154,355.94
                                                  Bank service fees                                                                162.69
                                                  Other payments to creditors                                                   96,675.40
                                                  Non-estate funds paid to 3rd Parties                                               0.00
                                                  Exemptions paid to the debtor                                                  5,000.00
                                                  Other payments to the debtor                                                       0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $               78,805.97

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
          UST Form 101-7-TFR (5/1/2011) (Page: 1)
                       Case 6:10-bk-01014-KSJ                         Doc 107            Filed 07/02/19              Page 2 of 16




       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 07/31/2017 and the
      deadline for filing governmental claims was 07/24/2010 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 19,750.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 12,250.00 as interim compensation and now requests a sum of
      $ 7,500.00 , for a total compensation of $ 19,750.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 300.96 , and now
      requests reimbursement for expenses of $ 229.70 , for total expenses of $ 530.66 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 06/30/2019                                     By:/s/Marie E. Henkel
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011) (Page: 2)
                                                                                                                                                                                                       Page:       1
                                                     Case 6:10-bk-01014-KSJ                     Doc 107         Filed 07/02/19              Page 3 of 16
                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              10-01014                         KSJ            Judge:        Karen S. Jennemann                           Trustee Name:                      Marie E. Henkel
Case Name:            Edgar Alfred Walker, Jr.                                                                                   Date Filed (f) or Converted (c):   01/25/2010 (f)
                      Yamilee Menos Walker                                                                                       341(a) Meeting Date:               03/02/2010
For Period Ending:    07/02/2019                                                                                                 Claims Bar Date:                   07/31/2017


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 2415 Sterling Creek Pkwy, Oviedo, FL                                               450,000.00                        0.00               OA                                      0.00                        FA
  2. 12 McLeod Terr, New York City, NY 10956                                            450,000.00                        0.00               OA                                      0.00                        FA
  3. CASH                                                                                     40.00                       0.00                                                       0.00                        FA
  4. Bank of America Checking                                                                100.00                       0.00                                                       0.00                        FA
  5. HOUSEHOLD GOODS                                                                      1,600.00                        0.00                                                       0.00                        FA
  6. CLOTHING                                                                                100.00                       0.00                                                       0.00                        FA
  7. JEWELRY                                                                                 140.00                       0.00                                                       0.00                        FA
  8. 401K                                                                                26,000.00                        0.00                                                       0.00                        FA
  9. 2008 Honda Accord                                                                   18,000.00                        0.00               OA                                      0.00                        FA
 10. 2008 Honda Pilot                                                                    32,000.00                        0.00               OA                                      0.00                        FA
 11. Product Liability Case (u)                                                         115,000.00                  180,000.00                                                335,000.00                         FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,092,980.00                $180,000.00                                                 $335,000.00                       $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




      UST Form 101-7-TFR (5/1/2011) (Page: 3)
                                                                                                                                              Page:   2

03/05/10 NDR
                                                   Case 6:10-bk-01014-KSJ                   Doc 107        Filed 07/02/19      Page 4 of 16
05/20/10 Case Closed
04/17/17 Motion to reopen case to administer product liability settlement
04/19/17 Order reopening case                                                                                                                 Exhibit A
04/26/17 Notice reappointing trustee
        Withdrawal of NDR             Notice of Asset
06/02/17 Application to employ special counsel
06/08/17 Order authorizing employment of special counsel
06/15/17 Objection to exemption
06/26/17 Motion to approve compromise
07/11/17 Order sustaining objection to exemption
07/24/17 Order approving compromise
09/16/17 Application to employ accountant
09/18/17 Order authorizing employment of accountant
09/21/17 Notice of Abandonment as to assets # 1, 2, 9 & 10
11/08/17 Application for compensation of accountant
11/09/17 Withdrawal of Claim No. 21
        Final Report submitted
11/14/17 Final Report filed
        Notice of Final Report
12/21/17 Order allowing administrative expenses
08/01/18 Notice of 2nd Distribution to creditors
04/08/19 (2nd) Motion to approve compromise or settlement
05/13/19 Order approving 2nd settlement
06/30/19 Amended Final Report submitted




RE PROP #             1   --   09/21/17 Notice of Abandonment
RE PROP #             2   --   09/21/17 Notice of Abandonment
RE PROP #             9   --   09/21/17 Notice of Abandonment
RE PROP #            10   --   09/21/17 Notice of Abandonment
RE PROP #            11   --   06/02/17 Debtor amended schedules to add this asset. Debtor sought to exempt
                               $10,000.
                               06/15/17 Trustee's Objection to exemption
                               07/11/17 Order sustaining objection to exemption

Initial Projected Date of Final Report (TFR): 11/15/2017            Current Projected Date of Final Report (TFR): 11/09/2017




    UST Form 101-7-TFR (5/1/2011) (Page: 4)
                                                                                                                                                                                                     Page:           1
                                                     Case 6:10-bk-01014-KSJ             Doc  1072 Filed 07/02/19 Page
                                                                                           FORM                                                        5 of 16
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-01014                                                                                                  Trustee Name: Marie E. Henkel                                           Exhibit B
      Case Name: Edgar Alfred Walker, Jr.                                                                                       Bank Name: Union Bank
                   Yamilee Menos Walker                                                                             Account Number/CD#: XXXXXX8549
                                                                                                                                               Checking
  Taxpayer ID No: XX-XXX3922                                                                                Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 07/02/2019                                                                               Separate Bond (if applicable):


       1                2                              3                                               4                                                       5                  6                     7

Transaction Date    Check or                 Paid To / Received From                       Description of Transaction                  Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                              Code                                                         ($)
   08/31/17                        2014 AMS Qualified Settlement Fund        SETTLEMENT                                                                      $115,278.30                              $115,278.30
                                   c/o American Deposit Management Co.       07/25/17 Order approving
                                   P O Box 180258                            compromsie
                                   Delafield, WI 53018
                                                                             Gross Receipts                             $185,000.00

                                                                             Special Counsel Fees                       ($52,725.00)    3210-000

                                                                             Special Counsel Expenses                    ($5,755.70)    3220-000

                                                                             MDL Common Benefit Cost                     ($9,250.00)    3991-000
                                                                             Assessment
                                                                             QSF Trustee Fee                              ($700.00)     3991-000

                                                                             Settlement administration                   ($1,031.00)    3992-000
                                                                             expenses
                                                                             Lien Resolution                              ($260.00)     3991-000

                        11                                                   Product Liability Case                     $185,000.00     1242-000

   09/05/17            101         Yamilee Menos Walker                      Exemption                                                  8100-002                                   $5,000.00          $110,278.30
                                   2415 Sterling Creek Pkwy
                                   Oviedo, FL 32766
   10/25/17                        Union Bank                                Bank Service Fee under 11                                  2600-000                                      $162.69         $110,115.61
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/28/17            102         Marie E. Henkel                           Final distribution representing a                          2100-000                                  $12,250.00           $97,865.61
                                   3560 S. Magnolia Ave.                     payment of 100.00 % per court
                                   Orlando, FL 32806                         order.
   12/28/17            103         Marie E. Henkel                           Final distribution representing a                          2200-000                                      $300.96          $97,564.65
                                   3560 S. Magnolia Ave.                     payment of 100.00 % per court
                                   Orlando, FL 32806                         order.
   12/28/17            104         Clerk of U. S. Bankruptcy Court           Case Reopening Fee                                         2700-000                                      $260.00          $97,304.65
                                   Middle District of Florida
                                   Orlando Division
                                   400 W. Washington St., Ste. 5100
                                   Orlando, FL 32801


        UST Form 101-7-TFR (5/1/2011) (Page: 5)                                     Page Subtotals:                                                          $115,278.30          $17,973.65
                                                                                                                                                                                                   Page:           2
                                                     Case 6:10-bk-01014-KSJ             Doc  1072 Filed 07/02/19 Page
                                                                                           FORM                                                   6 of 16
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-01014                                                                                              Trustee Name: Marie E. Henkel                                             Exhibit B
      Case Name: Edgar Alfred Walker, Jr.                                                                                   Bank Name: Union Bank
                   Yamilee Menos Walker                                                                            Account Number/CD#: XXXXXX8549
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3922                                                                               Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 07/02/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   12/28/17            105         Steven M. Vanderwilt, CPA                 CPA fee                                               3410-000                                         $612.50          $96,692.15
                                   9940 Hood Rd.
                                   Jacksonville, FL 32257
   12/28/17            106         Steven M. Vanderwilt, CPA                 CPA expenses                                          3420-000                                          $16.75          $96,675.40
                                   9940 Hood Rd.
                                   Jacksonville, FL 32257
   12/28/17            107         Quantum3 Group LLC                        9156 Victoria's Secret                                7100-000                                          $96.10          $96,579.30
                                   o/b/o MOMA Funding LLC
                                   P O Box 788
                                   Kirkland, WA 98083-0788
   12/28/17            108         Bank of America                           4823                                                  7100-000                                     $10,616.29           $85,963.01
                                   P O Box 17054
                                   Wilmington, DE 19850
   12/28/17            109         Bank of America                           7286                                                  7100-000                                         $249.00          $85,714.01
                                   P O Box 17054
                                   Wilmington, DE 19850
   12/28/17            110         Citibank NA                               1813                                                  7100-000                                         $499.00          $85,215.01
                                   1000 Technology Dr
                                   MS 730
                                   O''Fallon, MO 63368
   12/28/17            111         Citibank USA                              2662                                                  7100-000                                     $13,928.00           $71,287.01
                                   Attn.: Centralized Bankruptcy
                                   P O Box 20507
                                   Kansas City, MO 64195
   12/28/17            112         Deleonardis Electric                      309W                                                  7100-000                                         $835.00          $70,452.01
                                   P O Box 108
                                   Garnerville, NY 10923
   12/28/17            113         Florida Hospital                          9746                                                  7100-000                                         $279.00          $70,173.01
                                   P O Box 538800
                                   Orlando, FL 32853-8800
   12/28/17            114         Florida Radiology Imaging                 FLRI                                                  7100-000                                         $956.18          $69,216.83
                                   P O Box 864428
                                   Orlando, FL 32886
   12/28/17            115         GEMB/L & T                                0807                                                  7100-000                                         $669.00          $68,547.83
                                   P O Box 981432
                                   El Paso, TX 79998




        UST Form 101-7-TFR (5/1/2011) (Page: 6)                                     Page Subtotals:                                                              $0.00          $28,756.82
                                                                                                                                                                                                     Page:           3
                                                     Case 6:10-bk-01014-KSJ             Doc  1072 Filed 07/02/19 Page
                                                                                           FORM                                                   7 of 16
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-01014                                                                                              Trustee Name: Marie E. Henkel                                               Exhibit B
      Case Name: Edgar Alfred Walker, Jr.                                                                                   Bank Name: Union Bank
                   Yamilee Menos Walker                                                                            Account Number/CD#: XXXXXX8549
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3922                                                                               Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 07/02/2019                                                                              Separate Bond (if applicable):


       1                2                               3                                             4                                                     5                   6                       7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                         Code                                                              ($)
   12/28/17            116         Hollis Cobb                               8770                                                  7100-000                                          $912.00           $67,635.83
                                   6621 Bay Cir
                                   Norcross, GA 30071
   12/28/17            117         HSBC/Levitz                               0055                                                  7100-000                                      $3,090.00             $64,545.83
                                   90 Christinana Rd
                                   New Castle, DE 19720
   12/28/17            118         James N Casesa                            8001                                                  7100-000                                          $348.00           $64,197.83
                                   3845 5th Ave N
                                   St Petersburg, FL 33713
   12/28/17            119         LVNV Funding                              7920                                                  7100-000                                          $830.00           $63,367.83
                                   P O Box 740281
                                   Houston, TX 77274
   12/28/17            120         Medical Center Radiology                  86MG                                                  7100-000                                          $229.92           $63,137.91
                                   20 W Kaley St
                                   Orlando, FL 32806
   12/28/17            121         North American                            8760                                                  7100-000                                          $223.00           $62,914.91
                                   2810 Walker Rd
                                   Chattanooga, TN 37421
   12/28/17            122         Orlando Health                            3586                                                  7100-000                                      $1,355.40             $61,559.51
                                   P O Box 3475
                                   Toledo, OH 43607-0475
   12/28/17            123         Pathology Specialists                     3586                                                  7100-000                                          $212.86           $61,346.65
                                   84 W Jersey St., Ste 1
                                   Orlando, FL 32806
   12/28/17            124         RJM Acquisitions LLC                      3996                                                  7100-000                                          $155.00           $61,191.65
                                   575 Underhill Blvd Ste 2
                                   Syosset, NY 11791
   12/28/17            125         Primestar H Fund 1 Trust                  EMC Mortgage                                          7200-000                                     $61,191.65                    $0.00
                                   c/o ALAW
                                   5404 Cypress Center Dr, Ste 300
                                   Tampa FL 33609
   04/09/18            124         RJM Acquisitions LLC                      3996 Reversal                                         7100-000                                         ($155.00)               $155.00
                                   575 Underhill Blvd Ste 2                  Check returned by post office;
                                   Syosset, NY 11791                         address not good.
   04/09/18            113         Florida Hospital                          9746 Reversal                                         7100-000                                         ($279.00)               $434.00
                                   P O Box 538800                            Check returned, account
                                   Orlando, FL 32853-8800                    cannot be located


        UST Form 101-7-TFR (5/1/2011) (Page: 7)                                     Page Subtotals:                                                              $0.00          $68,113.83
                                                                                                                                                                                                     Page:           4
                                                     Case 6:10-bk-01014-KSJ             Doc  1072 Filed 07/02/19 Page
                                                                                           FORM                                                      8 of 16
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-01014                                                                                                Trustee Name: Marie E. Henkel                                             Exhibit B
      Case Name: Edgar Alfred Walker, Jr.                                                                                     Bank Name: Union Bank
                   Yamilee Menos Walker                                                                           Account Number/CD#: XXXXXX8549
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX3922                                                                              Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 07/02/2019                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                  6                       7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction                  Uniform Tran.      Deposits ($)     Disbursements ($)      Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   04/10/18            115         GEMB/L & T                                0807 Reversal                                            7100-000                                      ($669.00)            $1,103.00
                                   P O Box 981432
                                   El Paso, TX 79998
   04/10/18            117         HSBC/Levitz                               0055 Reversal                                            7100-000                                  ($3,090.00)              $4,193.00
                                   90 Christinana Rd
                                   New Castle, DE 19720
   04/10/18            118         James N Casesa                            8001 Reversal                                            7100-000                                      ($348.00)            $4,541.00
                                   3845 5th Ave N
                                   St Petersburg, FL 33713
   04/17/18            126         James N Casesa                            8001                                                     7100-000                                       $348.00             $4,193.00
                                   c/o Bowden Barlow PA - Attn. Anne
                                   3845 5th Ave N
                                   St Petersburg, FL 33713
   06/29/18            126         James N Casesa                            8001 Reversal                                            7100-000                                      ($348.00)            $4,541.00
                                   c/o Bowden Barlow PA - Attn. Anne
                                   3845 5th Ave N
                                   St Petersburg, FL 33713
   07/02/18            127         Clerk, U S Bankruptcy Court (unclaimed    Remit To Court                                           7100-001                                       $348.00             $4,193.00
                                   funds)
                                   Attn. Susan Magaditsch, Financial
                                   Administrator
                                   U S Bankruptcy Court
                                   801 N. Florida Ave.
                                   Tampa, FL 33602
   08/01/18            128         Primestar H Fund 1 Trust                  EMC Mortgage                                             7200-000                                   $4,193.00                   $0.00
                                   c/o ALAW
                                   5404 Cypress Center Dr, Ste 300
                                   Tampa FL 33609
   06/25/19                        2014 AMS Qualified Settlement Fund        SETTLEMENT                                                                     $78,805.97                                 $78,805.97
                                   c/o American Deposit Management Co.       05/13/19 2nd Order approving
                                   PO Box 782                                settlement
                                   Pewaukee, WI 53072-0782
                                                                             Gross Receipts                           $150,000.00

                                                                             Special Counsel Fees                     ($60,000.00)    3220-000

                                                                             General expense                            ($183.03)     3991-000



        UST Form 101-7-TFR (5/1/2011) (Page: 8)                                     Page Subtotals:                                                         $78,805.97               $434.00
                                                                                                                                                                                                    Page:           5
                                                     Case 6:10-bk-01014-KSJ             Doc  1072 Filed 07/02/19 Page
                                                                                           FORM                                                      9 of 16
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-01014                                                                                                Trustee Name: Marie E. Henkel                                            Exhibit B
      Case Name: Edgar Alfred Walker, Jr.                                                                                      Bank Name: Union Bank
                   Yamilee Menos Walker                                                                             Account Number/CD#: XXXXXX8549
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX3922                                                                               Blanket Bond (per case limit): $23,516,752.00
For Period Ending: 07/02/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                          ($)
                                                                             QSF Trustee Fee                             ($311.00)    3991-000

                                                                             Bankruptcy Coordination Fee                 ($700.00)    3991-000

                                                                             Special Master Review                     ($2,500.00)    3991-000

                                                                             Common benefit rxpense                    ($7,500.00)    3991-000

                        11                                                   Product Liability Case                    $150,000.00    1242-000



                                                                                                              COLUMN TOTALS                                $194,084.27          $115,278.30
                                                                                                                    Less: Bank Transfers/CD's                     $0.00                $0.00
                                                                                                              Subtotal                                     $194,084.27          $115,278.30
                                                                                                                    Less: Payments to Debtors                     $0.00           $5,000.00
                                                                                                              Net                                          $194,084.27          $110,278.30




        UST Form 101-7-TFR (5/1/2011) (Page: 9)                                     Page Subtotals:                                                               $0.00                $0.00
                                                                                                                                                                   Page:     6
                                           Case 6:10-bk-01014-KSJ              Doc 107    Filed 07/02/19   Page 10 of 16

                                                                                                                                                                    Exhibit B
                                                                                              TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET             ACCOUNT
                                                                                                            NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                XXXXXX8549 - Checking                                           $194,084.27            $110,278.30             $78,805.97
                                                                                                                $194,084.27            $110,278.30             $78,805.97

                                                                                                           (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                   transfers)            to debtors)
                                                Total Allocation Receipts:                   $140,915.73
                                                Total Net Deposits:                          $194,084.27
                                                Total Gross Receipts:                        $335,000.00




UST Form 101-7-TFR (5/1/2011) (Page: 10)                                Page Subtotals:                                           $0.00                $0.00
                             Case 6:10-bk-01014-KSJ                 Doc 107        Filed 07/02/19   Page 11 of 16
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 6:10-bk-01014-KSJ                                                                                                       Date: July 2, 2019
Debtor Name: Edgar Alfred Walker, Jr.
Claims Bar Date: 7/31/2017


Code #     Creditor Name And Address          Claim Class       Notes                                Scheduled          Claimed              Allowed
           Marie E. Henkel                    Administrative                                             $0.00        $19,750.00           $19,750.00
100        3560 S. Magnolia Ave.
2100       Orlando, FL 32806




           Marie E. Henkel                    Administrative                                              $0.00           $530.66             $530.66
100        3560 S. Magnolia Ave.
2200       Orlando, FL 32806




           Clerk of U. S. Bankruptcy Court    Administrative                                              $0.00           $260.00             $260.00
100        Middle District of Florida
2700       Orlando Division
           400 W. Washington St., Ste. 5100
           Orlando, FL 32801

           Steven M. Vanderwilt, CPA          Administrative                                              $0.00           $612.50             $612.50
100        9940 Hood Rd.
3210       Jacksonville, FL 32257




           Steven M. Vanderwilt, CPA          Administrative                                              $0.00            $16.75               $16.75
100        9940 Hood Rd.
3420       Jacksonville, FL 32257




1          Quantum3 Group LLC                 Unsecured                                                $191.00             $96.10               $96.10
300        o/b/o MOMA Funding LLC
7100       P O Box 788
           Kirkland, WA 98083-0788


2          Bank of America                    Unsecured                                              $10,616.29       $10,616.29           $10,616.29
300        P O Box 17054
7100       Wilmington, DE 19850




3          Bank of America                    Unsecured                                                $249.00            $249.00             $249.00
300        P O Box 17054
7100       Wilmington, DE 19850




4          CB of the Hudson Valley            Unsecured                                                   $0.00             $0.00                $0.00
300        155 N Plank Rd
7100       Newburgh, NY 12550




                                                                          Page 1                                  Printed: July 2, 2019




         UST Form 101-7-TFR (5/1/2011) (Page: 11)
                             Case 6:10-bk-01014-KSJ              Doc 107        Filed 07/02/19   Page 12 of 16
                                                                      Exhibit C
                                                            ANALYSIS OF CLAIMS REGISTER
Case Number: 6:10-bk-01014-KSJ                                                                                                    Date: July 2, 2019
Debtor Name: Edgar Alfred Walker, Jr.
Claims Bar Date: 7/31/2017


Code #     Creditor Name And Address          Claim Class    Notes                                Scheduled           Claimed              Allowed
5          Citibank NA                        Unsecured                                             $499.00           $499.00              $499.00
300        1000 Technology Dr
7100       MS 730
           O''Fallon, MO 63368


6          Citibank USA                       Unsecured                                           $13,928.00       $13,928.00           $13,928.00
300        Attn.: Centralized Bankruptcy
7100       P O Box 20507
           Kansas City, MO 64195


7          Deleonardis Electric               Unsecured                                             $835.00            $835.00             $835.00
300        P O Box 108
7100       Garnerville, NY 10923




9          Florida Radiology Imaging          Unsecured                                             $956.18            $956.18             $956.18
300        P O Box 864428
7100       Orlando, FL 32886




10         GEMB/Home Depot                    Unsecured                                                $0.00             $0.00                $0.00
300        P O Box 981400
7100       El Paso, TX 79998




12         Hollis Cobb                        Unsecured                                             $912.00            $912.00             $912.00
300        6621 Bay Cir
7100       Norcross, GA 30071




14         James N Casesa                     Unsecured                                             $348.00            $348.00             $348.00
300        c/o Bowden Barlow PA - Attn.
7100       Anne
           3845 5th Ave N
           St Petersburg, FL 33713

15         LVNV Funding                       Unsecured                                             $830.00            $830.00             $830.00
300        P O Box 740281
7100       Houston, TX 77274




16         Medical Center Radiology           Unsecured                                             $229.92            $229.92             $229.92
300        20 W Kaley St
7100       Orlando, FL 32806




                                                                       Page 2                                  Printed: July 2, 2019




         UST Form 101-7-TFR (5/1/2011) (Page: 12)
                              Case 6:10-bk-01014-KSJ                   Doc 107           Filed 07/02/19   Page 13 of 16
                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 6:10-bk-01014-KSJ                                                                                                             Date: July 2, 2019
Debtor Name: Edgar Alfred Walker, Jr.
Claims Bar Date: 7/31/2017


Code #     Creditor Name And Address           Claim Class        Notes                                    Scheduled           Claimed              Allowed
17         North American                      Unsecured                                                     $223.00           $223.00              $223.00
300        2810 Walker Rd
7100       Chattanooga, TN 37421




18         Orlando Health                      Unsecured                                                    $1,355.40         $1,355.40           $1,355.40
300        P O Box 3475
7100       Toledo, OH 43607-0475




19         Pathology Specialists               Unsecured                                                     $212.86            $212.86             $212.86
300        84 W Jersey St., Ste 1
7100       Orlando, FL 32806




22         Primestar H Fund 1 Trust            Unsecured                                                        $0.00      $349,920.00          $349,920.00
350        c/o ALAW
7200       5404 Cypress Center Dr, Ste 300
           Tampa FL 33609


           Case Totals                                                                                     $31,385.65      $402,380.66          $402,380.66
               Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




                                                                                Page 3                                  Printed: July 2, 2019




         UST Form 101-7-TFR (5/1/2011) (Page: 13)
                   Case 6:10-bk-01014-KSJ           Doc 107      Filed 07/02/19     Page 14 of 16




                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 6:10-bk-01014-KSJ
     Case Name: Edgar Alfred Walker, Jr.
                 Yamilee Menos Walker
     Trustee Name: Marie E. Henkel
                         Balance on hand                                              $               78,805.97

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
      Trustee Fees: Marie E. Henkel                   $        19,750.00 $        12,250.00 $            7,500.00
      Trustee Expenses: Marie E. Henkel               $           530.66 $           300.96 $             229.70
      Attorney for Trustee Fees: Steven M.
      Vanderwilt, CPA                                 $           612.50 $           612.50 $                0.00
      Accountant for Trustee Expenses: Steven M.
      Vanderwilt, CPA                            $                    16.75 $         16.75 $                0.00
      Charges: Clerk of U. S. Bankruptcy Court        $           260.00 $           260.00 $                0.00
                 Total to be paid for chapter 7 administrative expenses               $                  7,729.70
                 Remaining Balance                                                    $               71,076.27


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE




UST Form 101-7-TFR (5/1/2011) (Page: 14)
                   Case 6:10-bk-01014-KSJ            Doc 107   Filed 07/02/19      Page 15 of 16




              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                           NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 31,290.75 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                      Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                    of Claim            to Date          Payment
     1                    Quantum3 Group LLC         $          96.10 $             96.10 $               0.00
     2                    Bank of America            $      10,616.29 $         10,616.29 $               0.00
     3                    Bank of America            $         249.00 $            249.00 $               0.00
     4                    CB of the Hudson Valley    $           0.00 $              0.00 $               0.00
     5                    Citibank NA                $         499.00 $            499.00 $               0.00
     6                    Citibank USA               $      13,928.00 $         13,928.00 $               0.00
     7                    Deleonardis Electric       $         835.00 $            835.00 $               0.00
     9                    Florida Radiology Imaging $          956.18 $            956.18 $               0.00
     10                   GEMB/Home Depot            $           0.00 $              0.00 $               0.00
     12                   Hollis Cobb                $         912.00 $            912.00 $               0.00
     14                   James N Casesa             $         348.00 $            348.00 $               0.00
     15                   LVNV Funding               $         830.00 $            830.00 $               0.00
     16                   Medical Center Radiology   $         229.92 $            229.92 $               0.00
     17                   North American             $         223.00 $            223.00 $               0.00




UST Form 101-7-TFR (5/1/2011) (Page: 15)
                   Case 6:10-bk-01014-KSJ            Doc 107     Filed 07/02/19     Page 16 of 16




                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     18                   Orlando Health              $        1,355.40 $          1,355.40 $            0.00
     19                   Pathology Specialists       $          212.86 $           212.86 $             0.00
                 Total to be paid to timely general unsecured creditors               $                  0.00
                 Remaining Balance                                                    $             71,076.27




             Tardily filed claims of general (unsecured) creditors totaling $ 349,920.00 have been allowed
     and will be paid pro rata only after all allowed administrative, priority and timely filed general
     (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 39.0
     percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     22                   Primestar H Fund 1 Trust    $      349,920.00 $         65,384.65 $       71,076.27
                 Total to be paid to tardy general unsecured creditors                $             71,076.27
                 Remaining Balance                                                    $                  0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




UST Form 101-7-TFR (5/1/2011) (Page: 16)
